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   1
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        Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
        Anand Balakrishnan*                          DIEGO &
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                            UNITED STATES DISTRICT COURT
  14                      SOUTHERN DISTRICT OF CALIFORNIA
  15
  16   Ms. L.,                                             Case No. 18-cv-00428-DMS-MDD
  17                         Petitioner-Plaintiff,
       v.
  18                                                       Date Filed: July 28, 2018
     U.S. Immigration and Customs Enforcement
  19 (“ICE”); et al.,
                                                           NOTICE REGARDING
  20                                                       MOTION FOR STAY OF
                              Respondents-Defendants.      REMOVAL
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Case 3:18-cv-00428-DMS-MDD Document 163 Filed 07/28/18 PageID.2851 Page 2 of 4



  1         Plaintiffs submit this Notice to provide information responsive to issues raised
  2   by the Court at oral argument.
  3         First, in the last several days, ICE has continued to administer the election
  4   form in a way that does not allow Class Members to make a knowing and informed
  5   decision. The attached declaration from pro bono attorneys explains that Class
  6   Members have been given the election form in a coercive manner, including with the
  7   first box already checked. See Decl. of Laila Arand, Ex. 58, ¶ 8, 15-16, 23.
  8         Second, the Court asked Plaintiffs’ counsel what decisions reunited families
  9   must now make, for which they need time to consult with each other and receive
 10   legal advice. As the attached declarations illustrate, Class Members who have final
 11   removal orders must choose between at least three options:
 12         1. The child may request his or her own Credible Fear Interview—an option
 13   that would have been available to the family had it not been separated. If the child
 14   passes the Credible Fear Interview, under existing ICE procedures, the entire family
 15   will be placed in normal removal proceedings together under Section 240 of the
 16   Immigration and Nationality Act. See Decl. of Stephen Manning, Ex. 59, ¶ 5-7.
 17         2. The parent may seek reconsideration of his or her own credible fear denial.
 18   If reconsideration is denied, the parent may be able to file a habeas petition to
 19   challenge the credible fear denial in federal court. As Plaintiffs explained at
 20   argument, the Ninth Circuit has a case pending that addresses federal jurisdiction
 21   over challenges to credible fear denials. See Thuraissigiam v. DHS, No. 18-55313
 22   (9th Cir. argued May 17, 2018).1
 23         3. If the parent is ultimately going to be removed, the family must decide
 24   whether the child will remain in the country to pursue the child’s own immigration
 25   claims, or be removed with the parent. That decision turns on a number of factors,
 26   including the nature of the relief available to the child, and the circumstances in
 27
      1
 28    Oral argument available at
      https://www.ca9.uscourts.gov/media/view.php?pk_id=0000032491.
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 1   which the child will be living in the United States. See Govindaiah Decl., Ex. 40, ¶
 2   9 (July 16, 2018) (discussing substantive claims that children may raise).
 3
     Dated: July 28, 2018                      Respectfully Submitted,
 4
                                               /s/Lee Gelernt
 5   Bardis Vakili (SBN 247783)                Lee Gelernt*
     ACLU FOUNDATION OF SAN                    Judy Rabinovitz*
 6   DIEGO & IMPERIAL COUNTIES                 Anand Balakrishnan*
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Case 3:18-cv-00428-DMS-MDD Document 163 Filed 07/28/18 PageID.2853 Page 4 of 4



  1                            CERTIFICATE OF SERVICE
  2
             I hereby certify that on May 28, 2018, I electronically filed the foregoing
  3
       with the Clerk for the United States District Court for the Southern District of
  4
       California by using the appellate CM/ECF system. A true and correct copy of this
  5
       brief has been served via the Court’s CM/ECF system on all counsel of record.
  6
                                                  /s/ Lee Gelernt
  7
                                                  Lee Gelernt, Esq.
  8
                                                  Dated: May 28, 2018
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                EXHIBIT 58
 Case 3:18-cv-00428-DMS-MDD Document 163-1 Filed 07/28/18 PageID.2855 Page 2 of 9



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12                                              *Admitted Pro Hac Vice

13                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
14
     Ms. L., et al.,
15
                           Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
16   v.
17                                                      DECLARATION OF LAILA
     U.S. Immigration and Customs Enforcement           ARAND
18   (“ICE”); et al.,
                                                        CLASS ACTION
19                          Respondents-Defendants.

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 1         1.     I, Laila Arand, make the following declaration based on my personal
 2   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
 3   that the following is true and correct:
 4         2.     I am an Attorney at the law firm Paul, Weiss, Rifkind, Wharton &
 5   Garrison LLP. I am a member in good standing of the bars of New York State and
 6   the District of Columbia. I am an English speaker, and my conversations with the
 7   detained parents reflected below were conducted via interpretation by a native
 8   Spanish speaker, Juan Jaramillo, a Staff Attorney at the law firm Paul, Weiss,
 9   Rifkind, Wharton & Garrison LLP.
10         3.     I, along with other attorneys from our law firm, in collaboration with
11   attorneys at Annunciation House Legal Program (“AHLP”), have been providing
12   pro bono legal services at the Otero County Processing Center in Chaparral, New
13   Mexico (“Otero”) and other detention facilities near El Paso, Texas, where I have
14   been meeting with detained parents who are separated from their children.
15         F.G.
16         4.     In connection with this work, on July 27, 2018, I met with one such
17   father, F.G., after F.G. placed a call to AHLP that morning. Mr. Jaramillo and I
18   met with F.G. that afternoon at Otero.
19         5.     At that meeting, F.G. described an incident that had occurred on the
20   afternoon and evening of July 25, 2018, when he was briefly allowed to spend a
21   few hours with, and then was once again separated from, his 17-year-old son.
22         6.     F.G. told us that the first time his son was taken from him was in early
23   June 2018, one day after they came together to this country. He said that at the
24   time of that initial separation, the guards asked his son to come with them but did
25   not tell F.G. or his son that they were being separated.
26         7.     F.G. said he did not see his son again after that for over fifty days. On
27   the afternoon of Wednesday, July 25, 2018, they saw each other again for the first
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 1   time since their separation at the “Corralon”—a commonly used nickname,
 2   meaning “corral,” for the El Paso Service Processing Center in El Paso, Texas
 3   (“EPSPC”). Along with a group of other parents and their children, F.G. and his
 4   son boarded a bus. F.G. told me that the bus then drove away. When F.G. had
 5   been on the bus for approximately eight minutes, a female official on the bus
 6   received a phone call. The bus turned around and returned to EPSPC.
 7         8.     F.G. informed us that the parents and their children then boarded a
 8   second bus that remained parked at EPSPC, until several uniformed officials
 9   approached the bus, carrying forms, which they then distributed to the parents on
10   the bus. F.G. observed that the forms were entirely in English, which he could not
11   read, except for a list of three options written in Spanish at the end of the form,
12   which he recalled were: Option 1: I want to be deported with my children;
13   Option 2: I do not want my child to be deported with me if I lose my case; and
14   Option 3: I want to speak to a lawyer before deciding what to do. F.G. told us that
15   when he received the form, someone had already pre-marked Option 1—I want to
16   be deported with my children—with a handwritten check mark. F.G. was not clear
17   on the exact language of the form, as the form was taken away from him after he
18   signed it, and he was not provided with a copy.
19         9.     F.G. said the officials told him that while there were three options on
20   the form, he had to choose Option 1. He refused, and he and a group of other
21   parents that refused to sign Option 1 were taken off the bus.
22         10.    F.G. said that he remembers there being six other detained parents—
23   five fathers and one mother—who refused to sign Option 1. F.G. explained to the
24   officials that he wanted his son to be safe in the United States even if he himself
25   had to be deported, and so, between Option 1 and Option 2, he viewed Option 2 as
26   the better choice under the circumstances. F.G. said that when he and the six other
27   parents asked to sign Option 2, the officials became very angry, then talked among
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 1   themselves in English before yelling at the parents and insisting in Spanish that
 2   they had to sign Option 1.
 3         11.    F.G. told us that eventually, those parents that refused to sign
 4   Option 1 were taken away from their children—who remained behind on the bus—
 5   to speak with an official inside the EPSPC. F.G. stated that the official asked him
 6   to give his permission for a designated adult in the United States to make medical
 7   and educational decisions for his son. F.G. agreed to this. F.G. told us that he
 8   asked if he could say goodbye to his son, and was told no. F.G. told us he then
 9   asked if he could at least go back to the bus to retrieve his belongings from the
10   storage area underneath the bus, and was told he could do so quickly. He said that
11   when he went to the bus to do so, his son attempted to come outside the bus to see
12   him, but was unable to do so.
13         12.    F.G. reported to us that the parents who did sign the form pre-marked
14   with Option 1 were allowed to re-board the bus to join their children and the
15   children of the parents who refused to sign. F.G. said he watched the bus depart
16   with his son on board, while F.G. remained behind at the EPSPC with the other
17   parents that refused to sign Option 1. F.G. said he spent two nights in EPSPC
18   before being returned to Otero, and when he returned to Otero he immediately
19   called AHLP. At the time Mr. Jaramillo and I spoke to F.G., he had not spoken to
20   his son since they were separated at the bus and did not know where he was.
21         13.    F.G. memorized the names and countries of origin for four of the
22   other detained parents that refused to sign Option 1, which enabled me to locate
23   and meet with three of those parents at Otero later that afternoon. Those parents
24   are identified here as J.M., C.T., and F.T.
25      J.M.
26         14.    J.M. is a parent of a 17-year-old son. He recounted the same
27   experience of boarding a bus on the afternoon of July 25, 2018, and the bus turning
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 1   back—he recalled that the woman who answered the phone call was a female
 2   official he described as approximately 40 to 50 years old, white, and with curly
 3   hair. J.M. further recalled that a man he described as large and Hispanic
 4   approached the parents shortly after they boarded the second bus and said to them
 5   (in Spanish) that he was the “jefe” (boss) and that the detained families on the bus
 6   would be going to an “albergue” (shelter)—a statement that J.M. said initially
 7   provided him with comfort that all would be well.
 8         15.    J.M. told us that sometime after that, however, officials wearing the
 9   badge of U.S. Immigration and Customs Enforcement (“ICE”) arrived with forms.
10   J.M. recalled being presented with the same three options in Spanish on a form that
11   was otherwise in English: that if he lost his case and had to be deported, the first
12   option would require his child to be deported with him, the second option would
13   allow him to be deported alone while leaving his child in the United States, and the
14   third option was to consult a lawyer. J.M. confirmed that the forms he received
15   had the first option pre-selected in handwritten ink.
16         16.    J.M. noted that it seemed inappropriate to him that ICE officers were
17   asking the parents to sign these forms on a parked bus instead of in a building.
18   J.M. told us that because his son was his priority, he chose the second option, but
19   that he also wanted a judge to hear his own case. J.M. said an ICE officer
20   responded that J.M. had already lost his case when he came into this country, and
21   so there was nothing for a judge to decide. J.M. told us that the ICE officers were
22   shouting and that he felt pressured to sign Option 1. J.M. reported that after that
23   after he signed Option 2, the ICE officer returned with a new copy of the form,
24   again with Option 1 pre-selected, and the ICE officer again insisted that he sign
25   Option 1, which J.M. again refused to do. J.M. added that the ICE officers yelled
26   at him in English, and said to him in Spanish words to the effect of, “what do you
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 Case 3:18-cv-00428-DMS-MDD Document 163-1 Filed 07/28/18 PageID.2860 Page 7 of 9




 1   think you are, a lawyer?” J.M. also demonstrated to us a physical gesture used by
 2   the ICE officers in which they pointed their finger at him aggressively.
 3         17.    J.M. further described being taken inside and meeting with an official
 4   who collected information about his son. J.M. said he was then permitted to
 5   retrieve some items from below the bus, but the children remained on the bus, and
 6   had to wave goodbye to their parents through the bus windows.
 7         18.    J.M. said that after spending two nights at EPSPC, he was handcuffed,
 8   chained, and bussed back to Otero even though he had not been handcuffed or
 9   chained on the previous trip. J.M. said that he has not been able to speak with his
10   son since they were separated.
11         C.T.
12         19.    C.T. recounted the same experience of a bus ride with his 17-year-old
13   son that was diverted back to EPSPC, and further recalled being told initially that
14   the bus would take them to the airport for a three-hour airplane ride to an
15   “albergue” (shelter). C.T. likewise similarly described ICE officials arriving on a
16   second bus with a form that included an English language portion, and noted that
17   nobody explained the English part of the form to him. He added that of the above-
18   described three options in Spanish, the first one—consent to deportation of his
19   child in the event he is deported—was pre-marked with a “v” shape.
20         20.    C.T. also said that the ICE officials’ statements when they insisted
21   that he sign Option 1 included: (1) that he had already lost his case and had to be
22   deported, (2) that if he did not sign a form with Option 1, he would be immediately
23   deported, and (3) that if he did not sign a form with Option 1, he would never see
24   his child again. C.T. recalled that throughout this encounter, the ICE officers were
25   yelling in an angry tone.
26         21.    C.T. said that he does not know where his son is or how to contact
27   him now. He said that, at that time, he chose Option 2 because he wanted his son
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 Case 3:18-cv-00428-DMS-MDD Document 163-1 Filed 07/28/18 PageID.2861 Page 8 of 9




 1   to be able to stay and be safe from the dangers in his home country, even if C.T.
 2   was not allowed to. He said that being separated from his son the first time was
 3   hard, but being separated again after seeing his child for only few hours, thinking
 4   they were going to be together, was harder.
 5         F.T.
 6         22.    F.T. recounted similar facts as the other three detainees—he told us
 7   about the aborted bus ride, the initial promise that they were being taken on an
 8   airplane to a shelter (F.T. added he heard there may have been a mechanical issue
 9   with the plane), the arrival of ICE officials who insisted that he sign a form pre-
10   marked with Option 1 (but who did not explain why he had to choose that option)
11   and who were visibly and audibly angry when he refused. F.T. explained that he
12   selected Option 2 out of the options given to him because he was concerned for the
13   welfare of his 16-year-old son. F.T. added that one ICE official told him in
14   Spanish that although he might want his son to stay here, all of them were going to
15   be deported anyway, and F.T.’s son might be deported first. F.T. also said that ICE
16   agents came back three separate times to try to get him to choose Option 1.
17         23.    F.T. told us that several of the other detained parents that did sign a
18   form with Option 1 were crying as they did so because “se rindieron” (they gave
19   up), and they just wanted to be with their children. F.T. said he had not spoken
20   with his son since the separation and was not sure where he was.
21         24.    None of the four individuals I met with were allowed to keep a copy
22   of the form they signed.
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Case 3:18-cv-00428-DMS-MDD Document 163-2 Filed 07/28/18 PageID.2863 Page 1 of 5




                EXHIBIT 59
Case 3:18-cv-00428-DMS-MDD Document 163-2 Filed 07/28/18 PageID.2864 Page 2 of 5



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   11
                             UNITED STATES DISTRICT COURT
   12                      SOUTHERN DISTRICT OF CALIFORNIA

   13
        Ms. L. et al.,                                    Case No. 18-cv-00428-DMS-
   14
                                                          MDD
                              Petitioners-Plaintiffs,
   15   v.
   16                                                     Date Filed: July 28, 2018
        U.S. Immigration and Customs Enforcement
        (“ICE”) et al.
   17
   18                                                     DECLARATION OF
                               Respondents-Defendants.    STEPHEN W. MANNING
   19
   20
                                                          CLASS ACTION
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Case 3:18-cv-00428-DMS-MDD Document 163-2 Filed 07/28/18 PageID.2865 Page 3 of 5



    1   1.    I, Stephen W. Manning, make the following declaration based on my
    2   personal knowledge and declare under the penalty of perjury pursuant to 28 U.S.C.
    3   § 1746 that the following is true and correct:
    4   2.     I am an attorney licensed to practice in the State of Oregon and am a
    5   member in good standing of the bars of the United States District Court for the
    6   District of Oregon, the United States Court of Appeals for the Ninth Circuit, and the
    7   Supreme Court of the United States. I am a member of the American Immigration
    8   Lawyers Association (“AILA”), a former member of the Board of Governors of
    9   AILA, and a former Chair of the Oregon Chapter of AILA.
   10   3.    I am the Executive Director of the Innovation Law Lab (“the Law Lab”), a
   11   nonprofit that I founded to improve the legal rights of immigrants and refugees in
   12   the United States. In my role at the Law Lab, I led the organizing of the Dilley Pro
   13   Bono Project in 2015, a detention-based project that provides representation to
   14   detained families in rapid removal proceedings.
   15   4.    The Dilley Pro Bono Project, which continues to operate at the South Texas
   16   Family Residential Center, has represented more than 40,000 noncitizens during
   17   proceedings since its inception in 2015.
   18   5.    When a family is detained in a family detention center and placed into
   19   expedited removal proceedings, every member of the family is entitled to a separate
   20   credible fear interview, including the children. If one person in the family passed
   21   the credible fear interview, the practice is to issue Notices to Appear for the entire
   22   family, placing them in regular removal proceedings under INA Section 240, even
   23   those individual family members who did not pass a credible fear interview.
   24   6.    This is the procedure that would have applied to families had they not been
   25   separated. Thus, even if a parent had failed a credible fear interview, the parent’s
   26   children would have been entitled to their own credible fear interviews. And if they
   27   passed those interviews, the entire family would have been referred for regular
   28   removal proceedings under INA Section 240.

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    1   7.    In other words, parents would not have been forced to choose between
    2   staying with their child, or allowing their child to pursue an asylum claim – the
    3   choice they are facing now. Instead, the parent would have been allowed to remain
    4   in the United States with their child while they pursued their asylum applications
    5   before the immigration judge.
    6         I declare under penalty of perjury that to the best of my knowledge the above
    7   facts are true and correct. Executed this 28th day of July, 2018, in Portland, Oregon.
    8
    9                                                     /s/ Stephen W. Manning
   10                                                     STEPHEN W. MANNING
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